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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

STEVE CLIFF, #142970,                    )
                                         )
             Plaintiff,                  )
                                         )
       v.                                )      CASE NO. 2:20-CV-571-WKW
                                         )
KAY IVEY,                                )
                                         )
             Defendant.                  )

                              FINAL JUDGMENT

      In accordance with the prior proceedings, opinions, and orders of the court, it

is the ORDER, JUDGMENT, and DECREE of the court that this action is dismissed

without prejudice.

      The Clerk of the Court is DIRECTED to enter this document on the civil

docket as a final judgment pursuant to Rule 58 of the Federal Rules of Civil

Procedure.

      DONE this 6th day of October, 2020.

                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
